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                                                                                    March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 X
UNITED STATES OF AMERICA,                                       CONSENT TO PROCEED BY
                                                                VIDEOCONFERENCE
                      -v-
                                                                     -CR-           (   )(   )
FERNANDO RA
                             Defendant(s).
                                                 X

Defendant FERNANDO RA                                     hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

x      Initial Appearance/Appointment of Counsel

       Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
       Indictment Form)

       Preliminary Hearing on Felony Complaint

X
       Bail/Revocation/Detention Hearing

       Status and/or Scheduling Conference

       Misdemeanor Plea/Trial/Sentence




                       C F15, Qom)
Defendant's Signature                                Defense Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)



Print Defendant's Name
                                                       (4,..cLrA..)          edacA
                                                     Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.


 11/5/2020
Date                                                 U.S. Magistrate Judge
